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                              Judge John T. Wooldridge
                               Hon. John T. Wooldridge, LLC
                             4900 Fournace Place Drive, Ste. 282
                                   Bellaire, Texas 77401
      Telephone: 713.844-8454 |   Email: Judge@JudgeWooldridge.com | www.JudgeWooldridge.com
__________________________________________________________________________________________________
      Cause Number/ Style:
                                            4:19-CV-03283; JOHN M. KIMBRO, ET AL. V.
                                            BANK OF AMERICA, N.A., IN THE U.S.
                                            DISTRICT COURT FOR THE SOUTHERN
                                            DISTRICT OF TEXAS, HOUSTON DIVISION
                                            (9/27/22)

      Plaintiffs Attorney:
                                           Jeffrey C. Jackson
                                           Jeffrey Jackson & Associates, PLLC
          _____Number of People            2500 E T C Jester Blvd., Ste. 285
                                           Houston, Texas 77008

                                           T 713.861.8833
                                           F 713.682.8866

                                           jeff@jjacksonllp.com


      Defendant’s Attorney:
                                            Addison Fontein
                                            McGuireWoods
          _____Number of People             2000 McKinney Avenue, Suite 1400
                                            Dallas, TX 75201

                                            214.932.6436

                                            AFontein@mcguirewoods.com


      Date Initial Contact with
      Attorney:                             9/16/22


      ADR Type:                             Mediation
      File Opened:                          9/16/22

      Date/place of ADR:                    Tuesday, September 27, 2022; In-Person; 4900
                                            Fournace Place, 2nd Floor, Bellaire, Texas 77401

      Result of ADR:                        Settled at mediation.
